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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JANE SMITH and MARY DOE,                                      :
                                                              :
                         Plaintiffs,                          :   21-CV-1715 (RA) (OTW)
                                                              :
                      -against-                               :   CIVIL CASE MANAGEMENT PLAN
                                                              :   AND SCHEDULING ORDER
ANTHONY J. ANNUCCI, et al.,
                                                              :
                         Defendants.                          :
                                                              :
                                                              :
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         ONA T. WANG, United States Magistrate Judge:

           After reviewing the Proposed Case Management Plan (ECF 137), the following

 scheduling order is entered pursuant to Rule 16 of the Federal Rules of Civil Procedure:

           Pleadings and Parties. The parties may amend the pleadings or join additional

 parties only upon a showing of good cause.

           Discovery. All fact discovery shall be completed by October 1, 2022. All

 expert discovery shall be completed by February 1, 2023.

           Discovery Disputes. The parties are required to follow the Court’s Individual

 Practices when seeking Court intervention on discovery disputes. See

 https://www.nysd.uscourts.gov/hon-ona-t-wang.

           Trial. The parties request a jury trial.


         SO ORDERED.

                                                                  s/ Ona T. Wang
Dated: March 15, 2022                                                        Ona T. Wang
       New York, New York                                           United States Magistrate Judge
